         Case 19-50012       Doc 167    Filed 07/10/19       EOD 07/10/19 14:44:47            Pg 1 of 3



                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

    In re:
                                                            Chapter 11
                             1
    USA GYMNASTICS,
                                                            Case No. 18-09108-RLM-11
                            Debtor.


    USA GYMNASTICS,
                                                            Adv. No. 19-50012
              Plaintiff,                                    in 18-09108-RLM-11

    v.

    ACE AMERICAN INSURANCE
    COMPANY f/k/a CIGNA INSURANCE
    COMPANY, GREAT AMERICAN
    ASSURANCE COMPANY, LIBERTY
    INSURANCE UNDERWRITERS INC.,
    NATIONAL CASUALTY COMPANY,
    RSUI INDEMNITY COMPANY, TIG
    INSURANCE COMPANY, VIRGINIA
    SURETY COMPANY, INC. f/k/a
    COMBINED SPECIALTY INSURANCE
    COMPANY, WESTERN WORLD
    INSURANCE COMPANY, ENDURANCE
    AMERICAN INSURANCE COMPANY,
    AMERICAN HOME ASSURANCE
    COMPANY, and DOE INSURERS,

              Defendants.

                                 NOTICE OF MOTIONS AND HEARING

             PLEASE TAKE NOTICE that on March 1, 2019 USA Gymnastics filed its Motion For

Partial Summary Judgment [Adv. Dkt. 26], and that on April 19, 2019 Liberty Insurance




1
 The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
   Case 19-50012       Doc 167     Filed 07/10/19    EOD 07/10/19 14:44:47        Pg 2 of 3



Underwriters Inc. filed its Cross-Motion For Summary Judgment [Adv. Dkt. 130] (collectively,

the “Motions”).

       PLEASE TAKE FURTHER NOTICE that the Motions have been set for a hearing (the

“Hearing”) on August 14, 2019 at 1:30 p.m. (Prevailing Eastern Time) in Room 329 of the

United States Bankruptcy Court, 46 East Ohio Street, Indianapolis, Indiana 46204.

       PLEASE TAKE FURTHER NOTICE that a dial-in telephone number for interested parties

to participate in the Hearing by conference call is 1-888-273-3658, passcode: 9247462#. All

callers shall keep their phones muted unless addressing the Court. All callers must identify

themselves and the party(ies) they represent when addressing the Court. Callers shall not place

their phones on hold during the Hearing.

       PLEASE TAKE FURTHER NOTICE that copies of the Motions may be accessed through

the case website at: https://omnimgt.com/usagymnastics, or by contacting the Debtor’s attorneys,

on PACER, or from the Clerk of the Court.




                                               2
   Case 19-50012       Doc 167   Filed 07/10/19    EOD 07/10/19 14:44:47        Pg 3 of 3



Dated: July 10, 2019                              Respectfully submitted,

                                                  JENNER & BLOCK LLP

                                                  By: /s/ Catherine Steege

                                                  Catherine L. Steege (admitted pro hac vice)
                                                  Dean N. Panos (admitted pro hac vice)
                                                  Melissa M. Root (#24230-49)
                                                  353 N. Clark Street
                                                  Chicago, Illinois 60654
                                                  (312) 923-2952
                                                  csteege@jenner.com
                                                  dpanos@jenner.com
                                                  mroot@jenner.com

                                                  -and-

                                                  PLEWS SHADLEY RACHER &
                                                  BRAUN LLP

                                                  George M. Plews
                                                  Gregory M. Gotwald
                                                  Tonya J. Bond
                                                  Steven A. Baldwin
                                                  1346 North Delaware Street
                                                  Indianapolis, Indiana 46202
                                                  (317) 637-0700
                                                  gplews@psrb.com
                                                  ggotwald@prsb.com
                                                  tbond@prsb.com
                                                  sbaldwin@psrb.com

                                                  Counsel for the Debtor




                                           3
